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                                       STATEMENT OF FACTS

        Your affiant, Bret Curtis, is a Special Agent of the Federal Bureau of Investigation. I have been
employed as a Special Agent with the Federal Bureau of Investigation since 2004. Prior to 2004, I worked
as a detective investigating crimes against children for the Phoenix Police Department. I am currently
assigned to the Phoenix Division, Sierra Vista Resident Agency where I am tasked with investigating
violations of federal laws including violent crimes and fraud. As a Special Agent, I am authorized by law
to engage in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S.
Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification were allowed access inside the U.S. Capitol. On January
6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United States
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in separate
chambers of the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned
to separate chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President Mike
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As noted
above, temporary and permanent barricades were in place around the exterior of the U.S. Capitol building,
and U.S. Capitol Police were present and attempting to keep the crowd away from the Capitol building and
the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and windows
of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted to
maintain order and keep the crowd from entering the Capitol; however, around 2:00 p.m., individuals in the
crowd forced entry into the U.S. Capitol, including by breaking windows and by assaulting members of the
U.S. Capitol Police, as others in the crowd encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President Mike Pence,
were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the United States
Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the
United States Capitol from the time he was evacuated from the Senate Chamber until the sessions resumed.

         During national news coverage of the aforementioned events, video footage which appeared to be
captured on mobile devices of persons present on the scene depicted evidence of violations of local and
federal law, including scores of individuals inside the U.S. Capitol building without authority to be there.

         Within the West Front of the Restricted Grounds there were additional temporary barriers due to
preparations and ongoing construction for the Inauguration including green snow fencing and signage
stating “Area Closed By order of the United States Capitol Police Board.” The exterior plaza of the U.S.
Capitol was also closed to members of the public. The below picture indicates all area within the red lines
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designated as a secure area with no public access as previously referenced in the “Area Closed By order of
the United States Capitol Police Board.”




                             Figure 1

        I have reviewed U.S. Capitol Surveillance Video, Open-Source Videos, and Washington, D.C.
Metropolitan Police Department (“MDP”) Body Worn Camera (“BWC”) footage capturing events from
January 6, 2021, in attempting to identify unknown subjects who assaulted law enforcement.

        During my review of MPD Officer C.W.’s BWC footage, I observed that at approximately 2 p.m.,
Ofc. C.W. was in a group of approximately 20 other MPD officers walking through the West lawn of the
United States Capitol grounds. All of the MPD officers were wearing clearly marked MPD uniforms.

         While walking through the West lawn, multiple known and unknown subjects who were positioned
there, and within the restricted area outlined on the map above, Ofc. C.W.’s BWC showed a white male,
approximately 45-55 years of age, grey in hair color, heavy build, with distinctive grey facial hair fashioned
with large “mutton chops,” wearing a black worn leather jacket, black leather gloves, beige cargo pants,
beige sneakers, and a light green backpack. Ofc. C.W.’s BWC footage showed the subject grabbed one or
more MPD police officers who were in front of Ofc. C.W. as Ofc. C.W. attempted to remove the subject
from the police officers:
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Figure 2

       The subject then physically engaged with Ofc. C.W.:




Figure 3

The subject grabbed Ofc. C.W. around the area of Ofc. C.W.’s chest:
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Figure 4

       The subject reached towards Ofc. C.W. with his right hand:




Figure 5

       The subject then threw a punch at Ofc. C.W.:
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Figure 6

        Ofc. C.W. then grabbed the subject by the backpack and pushed him away:




Figure 7

        Ofc. C.W. was interviewed and reviewed his BWC footage. Ofc. C.W. stated that he was part of
Civil Disturbance Unit (“CDU”) 42, who had been brough in to assist in reinforcing officers defending the
U.S. Capitol on January 6, 2021. Ofc. C.W. stated that he observed the subject fighting with two unknown
police officers. Ofc. C.W. approached the subject and grabbed his backpack. The subject then threw several
punches at Ofc. C.W. Ofc. C.W. then pushed the subject away then the subject charged Ofc. C.W. and
rammed into him.
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       A review of MPD Officer C.B.’s BWC showed that Ofc. C.B. was in the same group of
approximately 20 other MPD officers as Ofc. C.W., mentioned above. At approximately 2 p.m., Ofc. C.B.
was walking through the West lawn of the United States Capitol grounds when the subject grabbed one or
more police officers who were in front of Ofc. C.B.:




Figure 8




Figure 9

       The subject then physically engaged with Ofc. C.B.:
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Figure 10

       Ofc. C.B. then pushed the subject out of the way:




Figure 11
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Figure 12

         Ofc. C.B. was interviewed and reviewed his BWC footage. Ofc. C.B. stated that he was part of
CDU-42. Ofc. C.B. stated that he and his fellow officers were trying to push through the crowd in order to
get to the Lower West Terrace where they were to provide reinforcements, when the subject pushed Ofc.
C.B. in the chest using both hands on at least two occasions. Ofc. C.B. stated that he also observed the
subject doing the same to other unknown police officers who C.B. was working with that day.

        A review of MPD Officer B.S.’s BWC showed that Ofc. B.S. was in the same group of
approximately 20 other MPD officers as Ofcs. C.W. and C.B., mentioned above. At approximately 2 p.m.,
Ofc. B.S. was walking through the West lawn of the United States Capitol grounds when the subject grabbed
one or more police officers who were in front of Ofc. B.S.:
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Figure 13

       The subject reached towards and made physical contact with Ofc. B.S.:




Figure 14

       The subject attempted to hit Ofc. B.S.’s hand:
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Figure 15




Figure 16

         Ofc. B.S. was interviewed and reviewed his BWC footage. Ofc. B.S. stated that he was part of
CDU-42. Ofc. B.S. stated that he and his fellow MPD officers were trying to push through the crowd when
Ofc. B.S. observed the subject physically interacting with an unknown officer in front of Ofc. B.S.. The
subject then grabbed Ofc. B.S.’s baton and Ofc. B.S.’s BWC fell off in the struggle with the subject.

         Your affiant obtained the Department of State Passport photograph of Jacob L. ZERKLE and found
that it was consistent with BWC footage of the subject:
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                           Figure 17

        Your Affiant also compared the individual seen on the BWC footage with the individual pictured
on the Arizona Driver’s License photograph for Jacob L. ZERKLE and believes that the individuals
pictured are consistent.

        On October 28, 2021, your Affiant interviewed Jacob L. ZERKLE outside his home in Arizona.
ZERKLE stated that on or about January 2, 2021, ZERKLE and a family member drove from Arizona to
Washington, D.C. to protest about election integrity. ZERKLE stated that he did not attend former
President Trump’s speech because he went to the Capitol to protest, not to listen to speeches. Your Affiant
showed ZERKLE still photographs from Ofc. C.W.’s BWC footage, including Figures 3 and 4, above, and
ZERKLE confirmed that he was the person in the photographs. ZERKLE stated that he pushed into some
police officers and that he probably did something dumb. ZERKLE also said that he was shoved into the
police and was trying to protect himself but did not intend to assault a police officer.

     Based on the foregoing, your Affiant submits that there is probable cause to believe that Jacob L.
ZERKLE violated:

        1. 18 U.S.C. § 111(a), which makes it a crime to forcibly assault, resist, oppose, impede,
           intimidate, and interfere with, an officer and employee of the United States, and of any branch
           of the United States Government (including any member of the uniformed services), and any
           person assisting such an officer and employee, while such persons were engaged in and on
           account of the performance of official duties, and where the acts in violation of this section
           involve physical contact with the victim of the assault and the intent to commit another felony.

        2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to
           obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
           the lawful performance of his official duties incident to and during the commission of a civil
           disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
           movement of any article or commodity in commerce or the conduct or performance of any
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             federally protected function. (“Civil disorder” means any public disturbance involving acts of
             violence by assemblages of three or more persons, which causes an immediate danger of or
             results in damage or injury to the property or person of any other individual. “Federally
             protected function” means any function, operation, or action carried out, under the laws of the
             United States, by any department, agency, or instrumentality of the United States or by an
             officer or employee thereof; and such term shall specifically include, but not be limited to, the
             collection and distribution of the United States mails. 18 U.S.C. §232(1).

        3. 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to (1) knowingly enter or remain
           in any restricted building or grounds without lawful authority to do; and (2) knowingly, and
           with intent to impede or disrupt the orderly conduct of Government business or official
           functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
           restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
           orderly conduct of Government business or official functions; and (4) knowingly engage in any
           act of physical violence against any person or property in any restricted building or grounds;
           or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted
           building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
           where the President or other person protected by the Secret Service, including the Vice
           President, is or will be temporarily visiting; or any building or grounds so restricted in
           conjunction with an event designated as a special event of national significance.

        4. 40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter
           loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
           place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
           disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
           conduct in that building of a hearing before, or any deliberations of, a committee of Congress
           or either House of Congress; and (F) engage in an act of physical violence in the Grounds or
           any of the Capitol Buildings.

      As such, your Affiant respectfully requests that the court issue an arrest warrant for Jacob
L. ZERKLE. The statements above are true and accurate to the best of my knowledge and belief.


                                                           ________________________________
                                                           Bret Curtis
                                                           Special Agent
                                                           Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of March 2022.

                                                           ___________________________________
                                                           ROBIN M. MERIWEATHER
                                                           U.S. MAGISTRATE JUDGE
